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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

Derek Clements, et al.,                      )       Civil Action Number: 2:22-cv-02069-RMG
                                             )
                       Plaintiffs,           )
                                             )
               vs.                           )
                                             )
Lloyd J. Austin, III, Secretary of           )
Defense, et al.,                             )
                                             )
                       Defendants.           )

   DEFENDANTS’ RESPONSE TO PLAINTIFFS’ CONSOLIDATED MOTION FOR
      RECONSIDERATION AND LEAVE TO FILE AMENDED COMPLAINT

       Defendants respectfully inform this Court of their position regarding Plaintiffs’ motion for

reconsideration and leave to file an amended complaint, ECF No. 28 (“Mot. for Leave to Amend”).

Defendants do not oppose Plaintiffs’ request for leave to file the proposed amended complaint.

In doing so, Defendants reserve all defenses to the amended complaint, including—to the extent

that Plaintiffs again seek to raise individualized claims—the right to move for severance.

       Defendants do oppose Plaintiffs’ motion for reconsideration. This Court’s July 27, 2022

Order, ECF No. 22, granting Defendants’ motion to sever, ECF No. 15, was correctly decided and

should not be reconsidered. To the extent that Clements wishes to amend the complaint in

Clements v. Austin, No. 2:22-cv-02069 (D.S.C.), the proper procedural avenue is for Kloster,

Pokrant, and Vasiliu to voluntarily dismiss their three newly opened cases pursuant to Federal Rule

of Civil Procedure 41(a), and then, with leave of the Court, be added back to the Clements action

through the proposed amended complaint.

       Counsel for Defendants contacted counsel for Plaintiffs on August 3, 2022 to clarify the

terms of the amended complaint and requested that Plaintiffs confirm that the amended complaint




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challenges only Defendant Secretary of Defense Lloyd Austin’s August 24, 2021 Memorandum.

See Am. Compl., ECF No. 28-2 ¶ 41 & n.15 (citing the August 24, 2021 Memorandum); see also

Mot. for Leave to Amend at 4 (explaining that Plaintiffs’ amended complaint “reduce[s] Plaintiffs’

case to a straightforward Administrative Procedure Act [] case against a single Defendant, which

will require little or no individualized factual analysis or development. . . . [and instead] will focus

on Defendant[’s] [] actions in developing and promulgating an unlawful vaccine mandate.”). On

August 4, 2022, Plaintiffs confirmed that the amended complaint challenges only Secretary

Austin’s August 24, 2021 Memorandum.



Dated: August 5, 2022                               Respectfully submitted,

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